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                             UNITED STATES DISTRICT COURT
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                        CENTRAL DISTRICT OF CALIFORNIA
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10   JULIE ANN S.,                                      Case No. EDCV 19-2163-KK
11                               Plaintiff,
12                          v.                          JUDGMENT
13   ANDREW SAUL, Commissioner of
     Social Security,
14
                                 Defendant.
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17         Pursuant to sentence four of 42 U.S.C. § 405(g), IT IS ADJUDGED that the
18   decision of the Commissioner of the Social Security Administration is REVERSED,
19   and this action is REMANDED for further administrative proceedings.
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21   Dated: July 14, 2020
22                                                   HONORABLE KENLY KIYA KATO
                                                     United States Magistrate Judge
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